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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

STEPHEN L. WARNER, Executor                  )
of the Estate of GAGE W. ALLAM,              )
et al.,                                      )
                                             )
                      Plaintiffs,            )
                                             )
              v.                             )       Case No. l:19-cv-326
                                             )
SWEPI, LP, et al.,                           )
                                             )
                      Defendants.            )

                                    MEMORANDUM ORDER

      NOW, this 29th day of November, 2023, upon consideration of the parties' arguments

set forth in their respective filings as well as the arguments proffered during the motion

hearing held on November 27, 2023, IT IS ORDERED as follows:

   1. Defendants' motion to substitute Shell Legacy Holdings LLC as the successor-in-interest

       to Defendant SWEPI LP, ECF No. [227], is hereby GRANTED inasmuch as SWEPI LP

       is now legally defunct and substitution is warranted pursuant to Federal Rule of Civil

       Procedure 25(c). The Clerk is directed to amend the docket accordingly, so as to

      substitute the name of "Shell Legacy Holdings LLC as successor-in-interest to SWEPI

      LP" in the above-captioned matters for SWEPI LP.

   2. Plaintiffs' motion for joinder of additional corporate entities, ECF No. [238], is hereby

      DISMISSED as moot in light of Plaintiffs' notice of withdrawal of said motion, ECF No.

       [283]. The Court's DISMISSAL of the motion for joinder is without prejudice to

       Plaintiffs' right to refile same, pending resolution of Plaintiffs' fraudulent conveyance

      and related claims in the case of Seltz, et al. v. SWEPI LP, No. l:23-cv-243.
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